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IN THE UNITED STATES DIsTRiCT COURT F"‘ED m @§1~ D~C-
FOR THE wE`s;§S:rm;RD;IS]§RDi/<I:Si;g§ TENNESSEE 05 AUG _5 AH ms Lh
cLEP'T/HQ‘¥"HT G:§J£D

UNITED sTATEs oF AMERICA, fda

Plaintiff,
vs. Cr. No. 2;01€R20231-m1
THERESA BARKSDALE,

Defendant.

 

ORDER GRANTING MOTION FOR EXPEDITED TRANSFER
AND GRANTING MOTION TO WITHDRAW
AS COUNSEL OF RECORD

 

IT APPEARING TO THIS COURT THAT, upon the filed motion for expedited transfer and
motion to withdraw as counsel of record, there being good cause shown, that this motion is well
taken and Should be granted

IT IS FURTHER ORDERED THAT the U.S. Marshall be directed to expedite the transfer
of the Defendant, such that she shall not be absent from the detention facility wherein she is
receiving drug treatment for more than ji days.

IT IS SO ORDERED

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UNITED `SETATS DISTRIC COURT - wESTERN D'S'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 122 in
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Honorable J on McCalla
US DISTRICT COURT

